Case 3:04-bk-39148         Doc 378     Filed 01/10/05 Entered 01/11/05 09:50:31          Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: January 10, 2005


____________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

 In re:                                          :
                                                 :      Case No. 04-39148
          HUFFY CORPORATION                      :      Chapter 11
                                                 :      Judge L. S. Walter
                 Debtor.                         :

                           ORDER DENYING MOTION REQUESTING
                           MODIFICATION OF BANKRUPTCY STAY

          This matter is before the Court on the Motion Requesting Modification of Bankruptcy

 Stay (the "Motion") (Doc. 350), filed by James L Shockley on January 6, 2005.

          The Motion is deficient in that it fails to comply with several Local Bankruptcy Rules

 (“LBR”) as follows:

    •     The Motion was not served on the debtor or the Official Committee of Unsecured

          Creditors as required by LBR 9013-3(b).

    •     The Motion is accompanied by an Official Form 20(A) notice prescribed by LBR 9013-

          1(a), but the notice sets July 14, 2003 as the response date.

          The Motion is therefore DENIED without prejudice.
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        IT IS SO ORDERED.




 Copies to:

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